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                                                                    INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                     ASSET CASES
Case No:             17-43922-7                       RFN           Judge:        RUSSELL F. NELMS                             Trustee Name:                        Marilyn D. Garner, Trustee
Case Name:           H Melton Ventures Llc                                                                                     Date Filed (f) or Converted (c):     11/15/2018 (c)
                                                                                                                               341(a) Meeting Date:                 12/12/2018
For Period Ending:   12/31/2021                                                                                                Claims Bar Date:                     04/11/2019


                                   1                                             2                            3                             4                            5                             6

                         Asset Description                                     Petition/                Est Net Value               Property Formally               Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                        Unscheduled            (Value Determined by               Abandoned                    Received by                Administered (FA)/
                                                                               Values                Trustee, Less Liens,              OA=554(a)                     the Estate             Gross Value of Remaining
                                                                                                         Exemptions,                                                                                 Assets
                                                                                                       and Other Costs)

  1. Bond premium refund (u)                                                               158.00                    158.00                                                          0.00                        FA
  2. Havana Social Club                                                           1,000,000.00                    200,000.00                                                         0.00                        FA

     Membership Interests. Trustee was unable to sell the cigar
     bar and it was eventually closed.
  3. Spa810 Greenville, LLC                                                           Unknown                       1,100.00                                                         0.00                        FA

     Spa810, LLC enitity sold proceeds of Smart car
     Smart Car purchased by H Melton Ventures LLXC but titles in
     the name of spa810 Greenville, LLC $5,000.00
  4. Spa810 McKinney, LLC                                                            150,000.00                   143,400.74                                                         0.00                        FA

     Based on sale payment. Collected part of payment and
     defendent defaulted.
     Reflected now as Asset 11.
  5. HMV The Courtyard Villa, LLC                                                    100,000.00                    12,000.00                                                         0.00                        FA
  6. Funds from Receiver - The Korn Diaz Firm (u)                                            0.00                       0.00                                                         0.00                        FA

     Funds turned over with a reservation of recievers asserted a
     secured claim
  7. Mullin Law PC - Retainer Refund (u)                                                     0.00                   3,975.53                                                         0.00                        FA

     Total amount of funds received into chapter 11 $4,465.83
     Balance remaining from funds receipted in Chapter 11 is
     $3,975.53
  8. Bond premium refund for Havana Social Club (u)                                          0.00                    901.00                                                          0.00                        FA

     Bond premium paid by the Chapter 11 estate
  9. Usury and other tort claims                                                     200,000.00                   200,000.00                                                         0.00                        FA

     Potential Lawsuit Liquidation cause of action against X
     Extreme Constr
 10. Usury, tort, conversion and other claims                                         Unknown                           0.00                                                         0.00                        FA

     cause of action against Andrew Korn
                                                                                                                                                                                                       Page:       2
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Case Name:             H Melton Ventures Llc                                                                                   Date Filed (f) or Converted (c):     11/15/2018 (c)
                                                                                                                               341(a) Meeting Date:                 12/12/2018
For Period Ending:     12/31/2021                                                                                              Claims Bar Date:                     04/11/2019


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                         Asset Description                                       Petition/              Est Net Value               Property Formally               Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                          Unscheduled          (Value Determined by               Abandoned                    Received by                Administered (FA)/
                                                                                 Values              Trustee, Less Liens,              OA=554(a)                     the Estate             Gross Value of Remaining
                                                                                                         Exemptions,                                                                                 Assets
                                                                                                       and Other Costs)

 11. Breach of contract, fraud, misrepresentation, DTPA Cause of                       191,611.49                 145,500.00                                                 120,500.00                          FA
     action against spa810, LLC (u)

     The Estate asserted a cause of action against Spa810, LLC.
     Mara Day Spa, LLC, doing business as Mara's Med Spa,
     Gregory S. Smith and Ledimara Pinney, jointly referred to
     herein as "Defendants," for breach of contract and forclosure.
      Summary Judgment was entered in favor of the Estate and
     an Agreed Final Judment in Favor of Plaintiff on All Counts in
     the amount of $191,611.49 was entered by the Court on
     December 14, 2020. Purusant to the terms of the Agreed
     Judgment, Defendants were required to pay certain sums
     (lump sum and monthly through October 2021 for a total of
     $100,000.00. The Agreed Final Judgment also provided that if
     all payments were timely and completely paid, the Estate
     would file a satisfaction of the judgment. Defendants
     defaulted under the terms of the Agreement Judgment. A Writ
     of Execution was issued on May 28, 2021.

     After the default the parties entered into another compromise
     and settlement that was approved by the Court on 12/17/2021.
     Defendants have paid the agreed settlement amount of
     $80,000.00. All assets of the Estate have been administered
     and the Estate is now ready for closing.
 12. Licenses, franchises, and royalties                                               575,000.00                       0.00                                                         0.00                        FA

     *Spa810, LLC filed bankruptcy in Arizona, claim
     uncollectable*
     spa810 Franchise agreement royalties; cause of action
     against spa810LLC ($400,000 from spa810; 60000 paid to
     spa810 by MSquared; 150000 paid to spa810 by Jason
     Ellison)
 13. possible $100,000 as rent for spa810 McKinney, LLC                                100,000.00                       0.00                                                         0.00                        FA

     Did not recover
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                                                                     INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                      ASSET CASES
Case No:                17-43922-7                     RFN           Judge:        RUSSELL F. NELMS                          Trustee Name:                        Marilyn D. Garner, Trustee
Case Name:              H Melton Ventures Llc                                                                                Date Filed (f) or Converted (c):     11/15/2018 (c)
                                                                                                                             341(a) Meeting Date:                 12/12/2018
For Period Ending:      12/31/2021                                                                                           Claims Bar Date:                     04/11/2019


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                         Asset Description                                      Petition/              Est Net Value              Property Formally               Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                         Unscheduled          (Value Determined by              Abandoned                    Received by                Administered (FA)/
                                                                                Values              Trustee, Less Liens,             OA=554(a)                     the Estate             Gross Value of Remaining
                                                                                                        Exemptions,                                                                                Assets
                                                                                                      and Other Costs)

 14. space occupied by HMV the Courtyard Villas, LLC                                   10,000.00                      1.00                                                         0.00                        FA

     Creditor received funds on motion relief from stay - 10000
     security deposit for 1801 Division, Inc. (paid by HMV but for
     space occupied by HMV the Courtyard Villas LLC)
 15. Internet domain names and websites                                                     0.00                      0.00                                                         0.00                        FA

     www.hmvdallas.com
 16. Interests in insurance policies or annuities                                      Unknown                        0.00                                                         0.00                        FA

     purhaps as an additional insured ortherwise none
 17. Office furniture                                                                  Unknown                        0.00                                                         0.00                        FA

     Dell Laptop Latitude
 18. Non-publicly traded stock and interests in incorporated and                       Unknown                        0.00                                                         0.00                        FA
     unincorporated businesses, including any interest in an LLC,
     partnership, or joint venture

     Worst Behavior LLC
 19. Malpractice in state court litigation                                             Unknown                        0.00                                                         0.00                        FA

     Claims against Almasri firm
 20. Other contingent and unliquidated claims or causes of action                      Unknown                        0.00                                                         0.00                        FA
     of every nature, including counter claims of the debtor and
     rights to set off claims

     unknown claims against members for negligence or
     mismanagemnet or breach of duty, including right of setoff -
     Mismangaement / negligence / breach duty
INT. Post-Petition Interest Deposits (u)                                               Unknown                        N/A                                                          0.00                        FA


                                                                                                                                                                                Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                               $2,326,769.49               $707,036.27                                                  $120,500.00                       $0.00
                                                                                                                                                                                (Total Dollar Amount in Column 6)
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Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

After the default the parties entered into another compromise and settlement that was approved by the Court on 12/17/2021. Defendants have paid the agreed settlement amount
of $80,000.00. Any funds remaining in accounts for Debtor subsidiaries will be transferred to the main account for final distribution. All assets of the Estate have been
administered and the Estate is now ready for closing.




Initial Projected Date of Final Report (TFR): 12/31/2020            Current Projected Date of Final Report (TFR): 03/30/2022

Trustee Signature:       /s/ Marilyn D. Garner, TrusteeDate: 01/28/2022
                         Marilyn D. Garner, Trustee
                         2001 E. Lamar Blvd., Suite 200
                         Arlington, TX 76006
                         (817) 505-1499
                         mgarner@marilyndgarner.net
